     Case 2:17-cr-00101-WFN      ECF No. 529    filed 09/01/17   PageID.1350 Page 1 of 2




 1
 2
 3
 4
 5                          UNITED STATES DISTRICT COURT
 6                      EASTERN DISTRICT OF WASHINGTON
 7
 8   UNITED STATES OF AMERICA,                       No. 2:17-CR-00101-WFN-20

 9                       Plaintiff,                  ORDER GRANTING
10                                                   MODIFICATION OF RELEASE
                         v.                          CONDITIONS AND MOTION TO
11                                                   EXPEDITE
12   OLTON LEON GAINES,
                                                            MOTIONS GRANTED
13
                         Defendant.                          (ECF No. 527, 528)
14
15         Before the Court is Defendant’s Renewed Motion to Modify Release
16   Conditions. ECF No. 527. In his renewed motion, Defendant requests that he be
17   allowed to travel to Western Washington and Northern Idaho for the purposes of
18   his employment. ECF No. 527 at 1. Defendant recites that he will be driving a
19   company box truck, selling automotive parts out of the truck, and traveling to cities
20   in Western, Central, and Eastern Washington and Northern Idaho to make sales.
21   ECF No. 527 at 2. Defendant reports that he will notify his probation officer, Erik
22   Carlson, in advance of every trip. ECF No. 527 at 2. Neither the United States, nor
23   U.S. Probation oppose this requested modification. ECF No. 527 at 2.
24         Therefore, IT IS ORDERED, that Defendant’s release conditions be
25   modified as follows:
26
     (14) Defendant shall remain in the States of Washington and Idaho while the case
27        is pending, on condition Defendant notify his Pretrial services officer when
28        work takes him outside the Eastern District of Washington, and provide



     ORDER - 1
     Case 2:17-cr-00101-WFN    ECF No. 529    filed 09/01/17   PageID.1351 Page 2 of 2




 1        reliable means to contact him when he is outside the district. By timely
          motion clearly stating whether opposing counsel and Pretrial Services object
 2        to the request, Defendant may be permitted to travel outside this geographical
 3        area.
 4
          All other conditions not inconsistent herewith remain in full force and effect.
 5
     Defendant’s motions, ECF No. 527 and 528, are GRANTED.
 6
          IT IS SO ORDERED.
 7
          DATED September 1, 2017.
 8
 9                              _____________________________________
10                                        JOHN T. RODGERS
                                 UNITED STATES MAGISTRATE JUDGE
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



     ORDER - 2
